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11                                   UNITED STATES DISTRICT COURT

12                                 NORTHERN DISTRICT OF CALIFORNIA

13                                            SAN JOSE DIVISION

14   SECURITIES AND EXCHANGE                         )   CASE NO. 18-CV-01603-BLF
     COMMISSION,                                     )
15                                                   )
           Plaintiff,                                )
16                                                   )
            v.                                       )
17                                                   )
     RAMESH “SUNNY” BALWANI,                         )
18                                                   )
            Defendant.                               )
19                                                   )
     UNITED STATES OF AMERICA,                       )   CASE NO. 18-CR-00258-LHK_
20                                                   )
           Plaintiff,                                )
21                                                   )
            v.                                       )   NOTICE OF RELATED CASES
22                                                   )   IN A CRIMINAL ACTION
     ELIZABETH HOLMES and                            )
23   RAMESH “SUNNY” BALWANI,                         )
                                                     )
24          Defendants.                              )
                                                     )
25

26          The United States hereby files this notice of related cases pursuant to Criminal Local Rule 8-1,
27 as it believes that the above-captioned cases are related within the meaning of the rule. The first

28
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 1 captioned case (18-CV-01603-BLF), a civil securities case, charges defendant Ramesh “Sunny” Balwani

 2 with violations of the federal securities laws, and contains allegations related to his employment at

 3 Theranos, Inc.1 At trial, this case would likely involve testimony from Theranos’s investors concerning

 4 alleged misrepresentations made to them in the course of their investments. Throughout the course of

 5 this litigation, the Court would likely become familiar with the business of Theranos, its technology, and

 6 its recruitment of investors.

 7          The second case (18-CR-00258-LHK), a criminal fraud case, charges Elizabeth Holmes and

 8 Ramesh “Sunny” Balwani with violations of federal criminal conspiracy and fraud laws, and contains

 9 allegations regarding their employment at the same company, Theranos, Inc. This criminal case alleges

10 fraud committed against investors as well as Theranos’s patients. At trial, this case, too, would likely

11 involve testimony from Theranos’s investors concerning alleged misrepresentations made to them in the

12 course of their investments. Similarly, the Court would likely become familiar with the business of

13 Theranos, its technology, and its recruitment of investors.

14          These two cases involve one or more of the same defendants and overlapping, and in some

15 instances the same, events, occurrences, and transactions. In addition, both actions appear likely to

16 entail substantial duplication of labor if heard by different Judges or might create conflicts and

17 unnecessary expenses if conducted before different Judges. For the above reasons, the government

18 believes that assignment of the above-captioned cases to a single District Judge will conserve judicial

19 resources and promote efficient determination of the action.

20          The first case, 18-CV-01603-BLF, is pending before Judge Freeman, and is the “earliest” filed

21 matter within the meaning of the Local Rules. Rule 8-1(e) provides that the Judge assigned to the

22 //

23 //

24 //

25 //

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27          1
           The Securities and Exchange Commission filed a separate action, Securities and Exchange
28 Commission   v. Holmes et al 18-CV-01608-EJD, against Elizabeth Holmes and Theranos, Inc. This
   matter was closed on March 27, 2018.
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 1 earliest-filed case shall issue an order that indicates whether the later-filed case is related or not, and if

 2 the case is related, whether the later-filed case is to be reassigned to that Judge.

 3

 4 DATED: June 15, 2018                                            Very truly yours,

 5                                                                 ALEX G. TSE
                                                                   Acting United States Attorney
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 7                                                                 /s/
                                                                   JEFF SCHENK
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                                                                   Assistant United States Attorney
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